Case 4:20-cv-04034 Document 16-1 Filed on 12/17/20 in TXSD Page 1 of 3




      EXHIBIT A
      Case 4:20-cv-04034 Document 16-1 Filed on 12/17/20 in TXSD Page 2 of 3




                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION


 FREDRIC N. ESHELMAN,

           Plaintiff,
                                                         Case No. 4:20-CV-04034
 v.
                                                           JURY DEMANDED
 TRUE THE VOTE, INC.,

           Defendant.


                          PLAINTIFF FREDRIC N. ESHELMAN’S
                          PROPOSED EXPEDITED DISCOVERY

                                       DEFINITIONS

          1.     The term “Eshelman Funds” shall mean all money transferred from Plaintiff

Fredric N. Eshelman to Defendant True the Vote, Inc. in November 2020.

          2.     “Defendant” shall mean True the Vote, Inc., and its employees, agents,

representatives, independent contractors, attorneys, and anyone purporting to act on its

behalf.

                   PROPOSED EXPEDITED DOCUMENT REQUESTS

          1.     Documents sufficient to establish the amount and location of the Eshelman

Funds currently in Defendant’s possession.

          2.     All documents referring to or reflecting any payments that are or may become

due by True the Vote, Inc. and that True the Vote, Inc. plans to pay out of the Eshelman

Funds.



                                               1
    Case 4:20-cv-04034 Document 16-1 Filed on 12/17/20 in TXSD Page 3 of 3




       3.     All documents that refer to or reflect any payments made by True the Vote,

Inc. out of the Eshelman Funds on or after November 5, 2020.

       4.     All documents that refer to or reflect any attempt by Defendant on or after

November 5, 2020 to move the Eshelman Funds out of True the Vote, Inc.’s possession.


                  PROPOSED EXPEDITED INTERROGATORIES

       1.     Identify the quantity of money, in dollars and cents, and the location of that

money, that remains in Defendant’s possession or control and that originated from Plaintiff

Fredric N. Eshelman.

       2.     Describe all payments that are currently, or that may become, due by True

the Vote, Inc. and that Defendant plans to pay out of the Eshelman Funds.

       3.     For all payments described in True the Vote, Inc.’s response to Interrogatory

No. 2, identify the recipient of the payment, the reason for the payment, the amount of the

payment, and the date True the Vote, Inc. plans to make the payment.




                                             2
